                            UNITED STATES DISTRICT COURT                            Motion GRANTED.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION


UNITED STATES OF AMERICA                      )
                                              )       Case No. 1:12-00001
                  v.                          )
                                              )
                                     JUDGE TRAUGER
[2] WAYNE HAMPTON, JR.                        )
      a/k/a “JUNE-B”                          )
 X RAY USSERY
[5]                                           )
 [4]
                     MOTION TO ACCEPT LATE FILING

       The United States of America, by and through Lynne T. Ingram, Assistant United States

Attorney for the Middle District of Tennessee, requests that this Court accept the late filing of the

Consolidated Response to Defendants’ Pretrial Motions.

       The United States was discussing possible settlements with the remaining co-defendants.

Based on these negotiations, Devario McFarland intends to plead guilty and will be filing a notice

of intent to change plea. Plea negotiations have ceased as to Wayne Hampton, Jr., and Ray Ussery.

       Therefore, the United States request to file the response late.


                                                      Respectfully submitted,

                                                      DAVID RIVERA
                                                      ACTING UNITED STATES ATTORNEY

                                                      s\ Lynne T. Ingram
                                                      LYNNE T. INGRAM
                                                      Assistant United States Attorney
                                                      110 Ninth Avenue South, Suite A-961
                                                      Nashville, Tennessee 37203
                                                      (615) 736-5151




                                                  1


 Case 1:12-cr-00001         Document 139          Filed 05/02/13    Page 1 of 1 PageID #: 338
